                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION
                                            0:15-cv-03756-MGL
                         CIVIL ACTION NO.: ________________

____________________________________
JAMES NALLY, derivatively on behalf of)
3D SYSTEMS CORPORATION,               )
                                      )
                  Plaintiff,          )
                                      )
      v.                              )
                                      )
ABRAHAM N. REICHENTAL, DAMON )
J. GREGOIRE, CHARLES W. HULL, )
DANIEL S. VAN RIPER, G. WALTER )                                    COMPLAINT
LOEWENBAUM, II, JIM D. KEVER,         )                         (Jury Trial Demanded)
KAREN E. WELKE, KEVIN S.              )
MOORE, PETER H. DIAMANDIS,            )
WILLIAM D. HUMES, and WILLIAM )
E. CURRAN,                            )
                                      )
                  Defendants,         )
                                      )
      and                             )
                                      )
3D SYSTEMS CORPORATION,               )
                                      )
                  Nominal Defendant. )
____________________________________)

                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       By and through his undersigned counsel, Plaintiff James Nally (“Plaintiff”) brings this

shareholder derivative action on behalf of Nominal Defendant 3D Systems Corporation (“3D” or

the “Company”) and against certain officers and/or directors of the Company for breaches of

fiduciary duties. Plaintiff alleges upon personal knowledge as to those allegations concerning

Plaintiff and, as to all other matters, upon the investigation of counsel, which includes, without

limitation, review of public filings with the United States Securities and Exchange Commission

(“SEC”), press releases and other publications disseminated by the Company, news articles,
shareholder communications, and postings on 3D’s website concerning the Company’s public

statements.

                                         SUMMARY

       1.     Nominal Defendant 3D is a holding company that during the past three years has

acquired approximately forty different businesses engaged in different aspects of the three-

dimensional (3-D) printing business, during which time, the Company’s stock price tripled.

       2.     Though 3D acquired its various companies at an average purchase price equal to

twice the annual revenue of the acquired company, 3D’s market capitalization during the relevant

period was approximately twenty times revenues, over two or three times the capitalization to

revenues ratios of other competing companies.

       3.     As described herein, 3D’s disproportionately high market capitalization and

correspondingly high stock price (in relation to total revenues) was not the result of any

technologically superior 3D printer product, or 3D printer that was a leader in its category, but

resulted in large part from self-created media hype primarily disseminated by President and CEO

Avi Reichental.

       4.     The Company operates globally, with segments of its operations in parts of the

Americas, Germany and Asia Pacific. 3D was founded by Defendant Charles W. Hull in 1986.

The Company is headquartered in Rock Hill, South Carolina.

       5.     As the Company acquired other companies, the Individual Defendants misleadingly

attributed rapidly increasing sales to demand for the Company’s products, which was presented as

an indication that sales would continue to grow, when in fact the increased sales were merely a

reflection of the addition of sales of companies acquired by the Company.




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       6.        Beginning in October 2013 and continuing through the present (the “Relevant

Period”), Defendants caused 3D to release information in its public filings promoting the

Company’s business and prospects to investors in an effort to artificially inflate the true value of

the Company’s stock. Once the Company’s stock reached inflated prices and without disclosing

the true nature of the Company’s business, several of the Individual Defendants traded their

Company stock on the material, adverse and non-public information, reaping millions of dollars

in the trades. Defendants caused this promotional scheme by deceptively making the market

believe the Company’s prospects were better than they actually were, and the Company has been

and will continue to be irreparably harmed as a result.

       7.        The Individual Defendants caused the Company to release false and misleading

information concerning (i) the Company’s ability to increase the capacity of its metal printing

business; (ii) demand for its consumer products; (iii) the value of multiple companies it was

acquiring; and (iv) its expected earnings.

       8.        When the true nature of the Company’s prospects were revealed, 3D’s stock price

began to plummet and currently trades around $12-14, as opposed to a high of $96.42 during the

Relevant Period while the Defendants promoted the Company’s future prospects and

opportunities.

       9.        In particular, Defendant Reichental, the Company’s Chief Executive Officer and

President, as well as a Board member, highly touted the Company’s acquisitions and

manufacturing capacity throughout the Relevant Period. On October 29, 2013, when the Company

released its third quarter results for 2013, Defendant Reichental stated that the Company “decided

to triple our manufacturing capacity over the next 12 months, as well as accelerate the development

of additional direct metal 3D printer models.”




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       10.     In fact, the Company was not poised to and could not increase its printing capacity

by that amount. Instead of accurately revealing the true prospects of the Company, certain of the

Defendants went on to benefit from the positive news released to the public that was false and

misleading.

       11.     In response to the news being released by the Defendants concerning the

Company’s business, 3D offered 5,950,000 shares of its stock for sale to the public on May 29,

2014, netting nearly $300 million. Furthermore, Defendants Reichental, Hull, Loewenbaum,

Moore, Van Riper, Gregoire and Kever were able to take significant advantage of the optimism

surrounding the Company and traded in portions of their 3D stock, reaping benefits of over $85

million in proceeds.

       12.     The Defendants caused the Company to release further glowing reports concerning

the Company’s business and prospects moving forward. For instance, on February 28, 2014, in

the Company’s fourth quarter for 2013 earnings conference call with investors and analysts,

Defendant Reichental described several recent acquisitions with the expectation that they would

lead 3D to be leaders in several market categories. Defendant Reichental even stated “we believe

that direct metal printing represents one of the most important and exciting advanced

manufacturing growth opportunities over the next few years and our plan is to as much as

quadruple sales over the next 12 months to 18 months.”

       13.     On this news, the Company’s stock jumped 6.8%, to close at $79.77 on February

28, 2014, the same day that Defendant Reichental pumped the Company’s prospects in the investor

and analyst conference call for the fourth quarter 2013. In less than one week after these statements

were made, Defendants Loewenbaum and Reichental sold shares, collectively reaping proceeds of

over $9 million combined.




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        14.     On April 29, 2014, Defendant Reichental continued to promote the Company’s

prospects in the Company’s first quarter 2014 earnings conference call with analysts and investors

by representing that the Company was expanding its direct metal sales capacity. Furthermore,

Defendant Reichental touted the Company’s “plan to quadruple direct metal printer sales over the

next 12 months to 18 months.”

        15.     In reality, the Company was unable to expand its sales by that substantial amount

and the Defendants took advantage of the market’s eagerness in the wake of this news by selling

more of their 3D stock at artificially inflated prices. For instance, between May 7, 2014 and May

19, 2014, Defendants Gregoire and Hull reaped benefits of nearly $2 million in proceeds from the

sale of their stock.

        16.     However, Defendants could not conceal the true problems with the Company for

long. On July 31, 2014, the Company issued a press release announcing its financial results for

the second quarter and six months of 2014. In that press release, it was further revealed that the

Company’s revenue was off the mark from analysts’ expectations and 3D’s stock fell nearly 11%

as a result.

        17.     The problems continued when more information concerning the Company’s true

prospects were recognized on October 22, 2014 when 3D issued a preliminary report announcing

its expected third quarter results for 2014, showing even lower full year revenue and earnings. In

that press release, the Company stated the problems were related to capacity constraints for its

direct metal printers.

        18.     On this news, 3D’s stock continued to fall, dropping over 15%.




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        19.     As a result of the Defendants wrongful conduct in concealing material, adverse

information from the investing public, the Defendants have breached their fiduciary duties to the

Company.

        20.     Furthermore, Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper,

Gregoire and Kever significantly profited from the hidden information by trading on the

Company’s stock while at the artificially inflated prices created by the Defendants during the

Relevant Period.

        21.     As such, the Individual Defendants are liable to the Company for the harm suffered

by it and its shareholders.

                                  JURISDICTION AND VENUE

        22.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(2) in

that Plaintiff and the Defendants are citizens of different states and the matter in controversy

exceeds $75,000. This action is not a collusive one to confer jurisdiction on a court of the United

States which it would not otherwise have.

        23.     Venue is proper in this District and Division pursuant to 28 U.S.C. § 1391(b)(2)

and Rule 3.01 of the Local Civil Rules (D.S.C.), because a substantial portion of the wrongs,

transactions and acts complained of occurred herein, including Defendants’ involvement in those

wrongs, as detailed herein. The Company is headquartered in this District, with Defendants

receiving substantial compensation in this District by engaging in business here, which has and

will continue to have a substantial effect in this District.




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                                        THE PARTIES

       24.     Plaintiff James Nally has continuously been a shareholder throughout the period of

the wrongdoings complained of herein, and is a current 3D shareholder. Plaintiff Nally is a citizen

of Ohio.

       25.     Nominal Defendant 3D is a Delaware Corporation with its headquarters and

principal place of business located at 333 Three D Systems Circle, Rock Hill, South Carolina

29730. The Company provides 3-D digital design and fabrication solutions, including 3-D

printers, print materials and cloud-sourced custom parts. The Company operates globally, with

business segments in the Americas, Germany and Asia Pacific.

       26.     Defendant Abraham N. Reichental (“Reichental”) has been a director, President

and Chief Executive Officer (“CEO”) of 3D since September 2003. Defendant Reichental is not

an independent director, as disclosed by the Company in its 2015 Proxy Statement, filed with the

SEC on March 24, 2015 (the “2015 Proxy”). Furthermore, Defendant Reichental is a member of

the Sustainability and Executive Committees of the Company’s Board of Directors (the “Board”).

Upon information and belief, Defendant Reichental is a citizen of South Carolina.

       27.     Defendant Charles W. Hull (“Hull”) is the founder of the Company, has been a

director since 1993 and has been the Chief Technology Officer since 1997, as well as Executive

Vice President since 2000. The Company lists Defendant Hull as not an independent director in

its 2015 Proxy. Upon information and belief, Defendant Hull is a citizen of South Carolina.

       28.     Defendant Daniel S. Van Riper (“Van Riper”) has been a director of the Company

since 2004 and currently is a member of the Audit and Compensation Committees. Upon

information and belief, Defendant Van Riper is a citizen of Florida.




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       29.     Defendant G. Walter Loewenbaum, II (“Loewenbaum”) has been a director and the

Chairman of the Board since 1999. Defendant Loewenbaum is also currently a member of the

Compensation Committee and the Chairperson of the Executive Committee. Upon information

and belief, Defendant Loewenbaum is a citizen of Texas.

       30.     Defendant Jim D. Kever (“Kever”) has been a director of the Company since 1996

and currently is the Chairperson of the Sustainability Committee and a member of the Corporate

Governance and Nominating Committee. Upon information and belief, Defendant Kever is a

citizen of Tennessee.

       31.     Defendant Karen E. Welke (“Welke”) has been a director of the Company since

2008 and is currently the Chairperson of the Compensation Committee and a member of the

Corporate Governance and Nominating Committee. Upon information and belief, Defendant

Welke is a citizen of Minnesota.

       32.     Defendant Kevin S. Moore (“Moore”) has been a director of the Company since

1999 and currently is the Chairperson of the Corporate Governance and Nominating Committee

as well as a member of the Audit and Executive Committees. Upon information and belief,

Defendant Moore is a citizen New York.

       33.     Defendant Peter H. Diamandis (“Diamandis”) has been a director of the Company

since 2013 and is currently a member of the Sustainability Committee. Upon information and

belief, Defendant Diamandis is a citizen of California.

       34.     Defendant William D. Humes (“Humes”) has been a director of the Company since

2014 and is currently a member of the Sustainability Committee. Upon information and belief,

Defendant Humes is a citizen of California.




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       35.     Defendant William E. Curran (“Curran”) has been a director of the Company since

2008 and is currently the Chairperson of the Audit Committee and a member of the Executive

Committee. Upon information and belief, Defendant Curran is a citizen of New York.

       36.     Defendant Damon J. Gregoire (“Gregoire”) has been an Executive Vice President

of Mergers & Acquisitions since November 11, 2014. Defendant Gregoire was the Chief Financial

Officer (“CFO”) at the Company from April 25, 2007 to November 11, 2014, and has also

previously been the Company’s Senior Vice President & Principal Accounting Officer. Upon

information and belief, Defendant Gregoire is a citizen of South Carolina.

       37.     The defendants identified in ¶¶ 26 to 36 above shall be referred to as the “Individual

Defendants” and/or the “Defendants” herein.

                                SUBSTANTIVE ALLEGATIONS

                                   Background of the Company

       38.     The Company is a Delaware corporation that was founded in 1986 by Defendant

Hull and is headquartered in Rock Hill, South Carolina. 3D Systems Corporation, through its

subsidiaries, operates as a provider of 3-D printing centric design-to-manufacturing solutions in

the Americas, Germany, and the Asia-Pacific, as well as other European, Middle East, and African

countries. The Company’s 3-D printers transform data input from the format generated by 3D

design software, CAD software, or 3D scanning and sculpting devices to printed parts using

integrated, engineered plastic, metal, nylon, rubber, wax, and composite print materials for use in

Accura, DuraForm, CastForm, LaserForm, and VisiJet brand names. The Company sells its

products and services through its direct sales force, sales agents, resellers, and distributors.




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                          The False and Misleading Representations

       39.     Defendants caused 3D to release information in its public filings promoting the

Company’s business and prospects to investors in an effort to artificially inflate the true value of

the Company’s stock. Once the Company’s stock reached inflated prices and without disclosing

the true nature of the Company’s business, several of the Individual Defendants traded their

Company stock on the material, adverse and non-public information, reaping millions of dollars

in the trades. Defendants caused this promotional scheme to continue for over two years and the

Company has been and will continue to be irreparably harmed as a result.

       40.     On October 29, 2013, the Individual Defendants caused the Company to issue a

press release entitled “3D Systems Reports Q3 Results,” in which the Individual Defendants

further promoted the Company’s prospects. The press release stated, in relevant part:

       ROCK HILL, South Carolina – October 29, 2013 - 3D Systems Corporation
       (NYSE: DDD) announced today that its third quarter revenue grew 50% from the
       prior year to a record $135.7 million on a 76% increase in printers’ and other
       products revenue and 30% overall organic growth, resulting in GAAP earnings of
       $0.17 per share and non-GAAP earnings of $0.26 per share.

       Gross profit increased 52% and gross profit margin expanded 80 basis points to
       52.6%, contributing to GAAP net income of $17.7 million, and non-GAAP net
       income of $26.2 million, representing a 44% improvement over the 2012 quarter.

       For the nine months 2013, revenue grew 42% to $358.6 million, on an 81% increase
       in printers and other products revenue and 27% organic growth, resulting in GAAP
       earnings of $0.34 per share and non-GAAP earnings of $0.66 per share. Gross profit
       increased 46% and gross profit margin expanded 120 basis points to 52.3%.

       Third Quarter 2013 Revenue Highlights (compared to 2012 quarter):
       • 3D printers and other products revenue increased 76% to $59.8 million.
       • Print materials revenue grew 30% to $33.2 million.
       • Services revenue rose 38% to $42.7 million.
       • Healthcare revenue grew 39% and contributed $16.9 million to our total
          revenue.
       • Consumer solutions contributed $13.5 million to our total revenue.




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       41.       Defendant Reichental, in the press release for 2013 announcing the Company’s

third quarter results, reported that the Company experienced a second straight quarter with record

revenue from printer unit sales as well the decision to rapidly increase the development of several

products, channels and technologies, further continuing the promotional scheme.

       42.       As a result of the Company’s steady release of the above described overly

optimistic and misleading press releases associated with quarterly earnings reports, the Company’s

stock jumped 300% in nine months, soaring to $92.93 on December 1, 2013 from $32.24 per share

on March 1, 2013, while today the Company’s stock trades at approximately $13 per share.

       43.       On February 28, 2014, the Individual Defendants caused the Company to issue a

press release entitled “3D Systems Reports Q4 and Full Year 2013 Results,” which stated, in

relevant part:

       ROCK HILL, South Carolina – February 28, 2014 - 3D Systems Corporation
       (NYSE: DDD) announced today that its fourth quarter revenue grew 52% from the
       prior year to a record $154.8 million on 34% overall organic growth, resulting in
       GAAP earnings of $0.11 per share and non-GAAP earnings of $0.19 per share for
       the fourth quarter.

       For the fourth quarter 2013, gross profit increased 53% and gross profit margin
       remained flat at 51.7% compared to the 2012 fourth quarter, and contributed to
       GAAP net income of $11.2 million, and non-GAAP net income of $19.7 million.

       For the full year 2013, revenue increased 45% to a record $513.4 million on 80%
       printers and other products growth and 29% organic growth, resulting in GAAP
       earnings of $0.45 per share and non-GAAP earnings of $0.85 per share for the year.
       Gross profit increased 48% and gross profit margin expanded 90 basis points to
       52.1%.

       Fourth Quarter 2013 Revenue Highlights (compared to 2012 quarter):
         3D printers and other products revenue increased 76% to $73.9 million.
         Print materials revenue grew 39% to $37.2 million.
         Services revenue rose 33% to $43.7 million.
         Healthcare revenue increased 67% to $21.8 million.
         Consumer solutions expanded 162% to $8.9 million.

       Full Year 2013 Revenue Highlights (compared to 2012):


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            3D printers and other products revenue increased 80% to $227.6 million.
            Print materials revenue grew 24% to $128.4 million.
            Services revenue rose 27% to $157.4 million.
            Healthcare revenue increased 45% to $71.7 million.
            Consumer solutions expanded 206% to $34.8 million.

       44.     The Defendants caused the Company to release further glowing reports concerning

the Company’s business and prospects moving forward. For instance, on February 28, 2014, in

the Company’s fourth quarter for 2013 earnings conference call with investors and analysts,

Defendant Reichental, President and CEO of 3D, described several recent acquisitions with the

expectation that they would lead 3D to be leaders in several market categories. Defendant

Reichental stated, “we believe that direct metal printing represents one of the most important and

exciting advanced manufacturing growth opportunities over the next few years and our plan is to

as much as quadruple sales over the next 12 months to 18 months.” Defendant Reichental knew

at the time he made the above statement that there was no reasonable basis upon which to make

such a projection.

       45.     Defendant Reichental stated in that conference call, in pertinent part:

       We expect the recent acquisition of Village Plastics to bolster our consumer
       material development and margins and the alliance and partnerships with domain
       experts in toys and food to position us for leadership in those categories.
       Furthermore, we expect the acquisitions of Gentle Giant and Digital PlaySpace to
       enhance our brand publishing capabilities and the attractiveness of our consumer
       and retail platform.

                                         *       *      *

       Based on our current line-up of direct metal printers, customer demand and plant
       capacity expansions, we expect our direct metal business to generate between $25
       million and $50 million of revenue in 2014. And for metals, this represents the
       beginning.

       Some may view this as a small niche. However, we believe that direct metal
       printing represents one of the most important and exciting advanced manufacturing
       growth opportunities over the next few years and our plan is to as much as



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        quadruple sales over the next 12 months to 18 months. We believe that plan is fully
        consistent with the growing demand of our expanding direct metal line-up.

        46.    On this news, the Company’s stock jumped 6.8%, to close at $79.77 on February

28, 2014, the same day that Defendant Reichental pumped the Company’s prospects in the investor

and analyst conference call for the fourth quarter 2013. In less than one week after these statements

were made, Defendants Loewenbaum and Reichental sold shares, collectively reaping proceeds of

over $9 million combined.

        47.    On April 29, 2014, Defendant Reichental continued to promote the Company’s

prospects in the Company’s first quarter 2014 earnings conference call with analysts and investors

by representing that the Company was expanding its direct metal sales capacity. Furthermore,

Defendant Reichental again touted the Company’s “plan to quadruple direct metal printer sales

over the next 12 months to 18 months.”

        48.    During the April 29, 2014 conference call, Defendant Reichental stated, in pertinent

part:

        Growing direct metal 3D printer sales again outstripped our manufacturing capacity
        during the first quarter, even as we continued to add capacity, and contributed to
        our increased total printer’s backlog.

                                          *      *       *

        In the first quarter, 3D printers and other products revenue grew 53% to $60.8
        million and made up 41% of total revenue. 3D printers alone contributed $50.7
        million, growing some 60% over the 2013 quarter. All our printer categories
        experienced strong demand, and our effective sales and marketing direct metal
        printers campaign continued to produce greater demand, once again outpacing our
        manufacturing capacity, even as we continue to add capacity.

                                          *      *       *

        We continue to expand manufacturing capacity across our portfolio, including
        accelerated expansion of our direct metals manufacturing, as demand from
        industrial companies continues to outpace our capacity. Healthcare remains one of
        our fastest growing verticals, as we continually focus on extending our applications



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       and reach. In line with that, in April, we acquired Medical Modeling, a leading
       provider of 3D printing-enabled patient-specific medical devices and personalized
       surgical treatments, including proprietary virtual surgical planning and clinical
       transfer tools.

                                            *    *       *

       We entered the second quarter of 2014 with positive sales momentum and increased
       backlog, driven by continued strong demand for advanced manufacturing activities
       across all of our categories. As our new, faster, and more advanced 3D printers and
       materials gain traction, we expect accelerated revenue growth for the second half
       of this year. We continue to view direct metal printing as a very important and
       exciting manufacturing growth opportunity and plan to quadruple direct metal
       printer sales over the next 12 months to 18 months.

       49.     In reality, the Company was unable to expand its sales by anything approaching the

type of expansion which Defendants had been projecting for many months as detailed above.

Defendants took advantage of the market’s eagerness in the wake of the unrealistic projections

they issued by selling more of their 3D stock at artificially inflated prices. For instance, between

May 7, 2014 and May 19, 2014, Defendants Gregoire and Hull reaped benefits of nearly $2 million

in proceeds from the sale of their stock.

                                   The Truth Emerges

       50.     After several quarters of the Individual Defendants pumping 3D stock and its

prospects, the truth finally began to emerge about the true condition of the Company when the

Defendants caused 3D to issue a press release entitled “3D Systems Reports Second Quarter and

Six Months 2014 Financial Results.” The press release stated, in relevant part:

       ROCK HILL, South Carolina – July 31, 2014 - 3D Systems Corporation (NYSE:
       DDD) announced today that its second quarter revenue grew $30.7 million, or 25%,
       from the prior year to $151.5 million on strong demand for its design and
       manufacturing printers, materials and services, resulting in second quarter GAAP
       earnings of $0.02 per share and non-GAAP earnings of $0.16 per share.

       Organic growth amounted to 10% as additional orders-in-hand, including $23.1
       million of printer orders, a 29% sequential increase over the March backlog for




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        printers, expanded the company’s second quarter total backlog to a record $31.9
        million.

        Gross profit margin shouldered the transitional effects of concentrated new product
        launches as well as the absorption of legacy products obsolescence and
        manufacturing expansion costs. Together, these factors and changed mix
        compressed gross profit margin some 400 basis points from the prior year’s quarter
        to 47.8%.

        For the six months 2014, revenue grew $76.4 million, or 34%, with growth
        distributed broadly across all categories, to $299.3 million, resulting in GAAP
        earnings per share of $0.07 per share and non-GAAP earnings per share of $0.30
        per share.

        51.     The $150 million in actual revenue was far short of predicted $162.3 million

expected by Wall Street based upon the above detailed statements and projections made by

Defendants. Gross margins were also lower than the expected forecast of 51%, coming in at only

47.8%. Likewise, the Company’s organic growth sunk to 10% from a previous point of 30% in

earlier quarters.

        52.     On this information, the Company’s stock suffered an 11% drop, or $5.94 per share,

to close at $50.13 per share, and continued to decline thereafter. This decrease erased nearly $653

million in market capitalization and allowed the Defendants to reap millions more by selling earlier

in the Relevant Period, when the Company’s stock price was bloated from the false statements in

the Company’s quarterly reports.

        53.     Despite the emergence of true prospects of the Company, Defendant Reichental, in

the July 31, 2014 press release, stated:

        While transitional forces temporarily pressured our gross profit margin, a detailed
        examination of the specific drivers, confirms that the fundamentals of our business
        are intact and our gross profit margins are poised to rebound and resume their
        expansion trajectory…Consistent with our historical performance, we expect to
        generate a higher portion of our revenue during the second half on rebounding
        margins. Record bookings for our design and manufacturing printers together with
        rising orders for our consumer products provides us with confidence in our ability
        to achieve our 2014 guidance.



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       54.     As the news of 3D’s true prospects began to emerge, Business Insider released an

article entitled “3D Systems Shares are Cratering,” in which truth about the Company and the

previous glowing reviews by the Individual Defendants emerged to the investing public. The

Business Insider stated in relevant part:

       Shares in 3D Systems were down more than 12% in pre-market trading Thursday
       after the firm reported earnings and revenue that fell short of expectations.

       Q2 EPS came in at $0.16 a share versus forecasts for $0.18. Revenue hit $151.5
       million against $162.3 million expected.

       Inventory climbed to $90 million versus $86 million forecast, and gross margin
       came in at 47.8% versus 51% forecast.

       CEO Avi Reichental said spending on new product launches held profits back this
       quarter but that underlying trends remained sound.

       55.     Although, after the July 31, 2014 announcement, the Company continued to lose

market capitalization and watched its stock price slowly decline, it was still trading at artificially

inflated prices, and continued to do so until the Individual Defendants caused 3D to release

preliminary results for the third quarter of 2014.

       56.     On October 22, 2014, the Company issued a press release entitled “3D Systems

Announces Preliminary Third Quarter 2014 Results,” which announced that actual third quarter

results for 2014 would be lower than original expectations. In particular, the Company announced

that “[s]trengthening sales of the company’s design, manufacturing and healthcare products and

services were not enough to overcome the revenue shortfall from the continued manufacturing

capacity constraints for its direct metals printers and delayed availability of its newest consumer

products.”

       57.     The problems continued when more information concerning the Company’s true

prospects was revealed on October 22, 2014 when 3D issued a preliminary report announcing its



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expected third quarter results for 2014, showing even lower full year revenue and earnings. In that

press release, the Company stated the problems were related to capacity constraints for its direct

metal printers.

       58.        In particular, the Company announced that its third quarter revenue was expected

to be significantly below the expectations of nearly $186 million, based upon Defendants’ above

described statements and projections. Instead, the Company reported third quarter revenue to be

only between $164 million to $169 million. Furthermore, the Company lowered its outlook for its

full year revenue to come in between only $650 million to $690 million, as opposed to Wall Street

expectations of over $700 million.

       59.        On this news, 3D’s stock continued to fall, dropping over 15% to close at $36.67

per share, a decrease of $6.71 per share. This significant drop caused the Company to lose $737.5

million in market capitalization.

       60.        As a result of the Defendants wrongful conduct in concealing material, adverse

information from the investing public, the Defendants have breached their fiduciary duties to the

Company.

       61.        As detailed herein, Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper,

Gregoire and Kever significantly profited from the hidden information by trading on the

Company’s stock while at the artificially inflated prices created by the Defendants during the

Relevant Period.

                       Illegal Trades Made Throughout the Relevant Period

       62.        Throughout the relevant period, as the Defendants promoted the Company’s stock

through false and misleading statements, certain of the Individual Defendants capitalized on the

artificial stock price by cashing in part or all of their shares in 3D. Defendants Reichental, Hull,




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Loewenbaum, Moore, Van Riper, Gregoire and Kever all made one or more trades throughout the

Relevant Period based on the artificially inflated price of 3D’s stock, reaping benefits of over $85

million in proceeds.

       63.     Defendant Reichental made four trades1 and sold 544,000 shares throughout the

Relevant Period for total proceeds of $24,814,447.

       64.     Defendant Hull made seven trades2 and sold 55,000 shares throughout the Relevant

Period for total proceeds of $2,591,825.

       65.     Defendant Loewenbaum made eight trades3 and sold 951,479 shares throughout the

Relevant Period for total proceeds of $43,244,499.

       66.     Defendant Moore made one trade4 and sold 15,000 shares throughout the Relevant

Period for total proceeds of $1,026,600.

       67.     Defendant Van Riper made six trades5 and sold 27,613 shares throughout the

Relevant Period for total proceeds of $1,441,853.

       68.     Defendant Kever made one trade6 and sold 38,000 shares throughout the Relevant

Period for total proceeds of $1,520,000.

       69.     Defendant Gregoire made five trades7 and sold 207,500 shares throughout the

Relevant Period for total proceeds of $10,728,850.



1
  The dates Defendant Reichental sold his shares were May 15, 2013, December 13, 2013, March
14, 2014, and August 29, 2014.
2
  The dates Defendant Hull sold his shares were May 19, 2014, June 6, 2014, July 21, 2014,
August 18, 2014, September 15, 2014, October 20, 2014 and November 19, 2014.
3
  Defendant Loewenbaum made three trades on May 15, 2013, two trades November 11, 2013,
two trades on March 5, 2014 and one trade on March 6, 2014.
4
  Defendant Moore’s sale occurred on November 5, 2013.
5
  Defendant Van Riper made two trades on May 5, 2013 and four trades on May 17, 2013.
6
  Defendant Kever’s sale occurred on May 15, 2013.
7
  Defendant Gregoire’s trades occurred on May 15, 2013, November 15, 2013, May 7, 2014,
August 27, 2014, and November 19, 2014.


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                                    DEFENDANTS’ DUTIES

        70.     As officers and directors of the Company, the Defendants had the ability to control

the business and corporate affairs of 3D and owe Company and its shareholders fiduciary

obligations of trust, loyalty, good faith, and due care. The Individual Defendants were and are

required to use their utmost ability to control and manage 3D so as to operate in a legal and honest

fashion. The Individual Defendants were and are required to act in furtherance of the best interests

of 3D and its shareholders so as to benefit all shareholders.

        71.     Each director and officer of the Company owes to 3D and its shareholders the

fiduciary duty to exercise good faith and diligence in the administration of the affairs of the

Company and in the use and preservation of its property and assets, and the highest obligations of

fair dealing.

        72.     In addition, as officers and/or directors of a publicly held company, the Individual

Defendants had a duty to promptly disseminate accurate and truthful information with regard to

the Company’s financial and business prospects so that the market price of the Company’s stock

would be based on truthful and accurate information.

        73.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of 3D, were able to and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein, as well as the contents of the various public

statements issued by 3D.

        74.     Because of their advisory, executive, managerial and directorial positions with 3D,

each of the Defendants had a duty to know of and understand the basic business of the Company

such that they knew of the true business and prospects of the Company and related that information

correctly and accurately to the Company’s investors and potential investing public.




                                                 19
       75.     Defendants were required to exercise reasonable and prudent supervision over the

management, policies, practices and controls of the financial affairs of the Company. By virtue of

such duties, the officers and directors of 3D were required to, among other things:

               a. Ensure that the Company complied with its legal obligations and requirements,

                  including acting only within the scope of its legal authority and disseminating

                  truthful and accurate statements to the investing public;

               b. Conduct the affairs of the Company in an efficient, business-like manner so as

                  to make it possible to provide the highest quality performance of its business,

                  to avoid wasting the Company’s assets, and to maximize the value of the

                  Company’s stock;

               c. Properly and accurately guide investors and analysts as to the true financial and

                  business prospects of the Company at any given time, including making

                  accurate statements about the Company’s business and financial prospects and

                  internal controls;

               d. Remain informed as to how 3D conducted its operations, and, upon receipt of

                  notice or information of imprudent or unsound conditions or practices, make

                  reasonable inquiry in connection therewith, and take steps to correct such

                  conditions or practices and make such disclosures as necessary to comply with

                  securities laws; and

               e. Ensure that 3D was operated in a diligent, honest, and prudent manner in

                  compliance with all applicable laws, rules, and regulations.

       76.     In addition to these duties, the Company has adopted an Insider Trading

Compliance Policy (the “Insider Policy”) with the purpose “to provide guidance to anyone who




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works for 3D Systems Corporation…with respect to trading in the Company’s securities as well

as in securities of publicly traded companies in which [3D] has any business relationship.” The

Insider Policy “is designed to promote compliance with applicable securities laws by the Company

and all of its directors, officers and employees…” and has, as general rules:

               (1)     No trading while in possession of inside information;

               (2)     No tipping or sharing non-public information with others or to recommend
                       to anyone the purchase or sale of any securities;

               (3)     Pre-clearance procedures that require all personnel to whom the Insider
                       Policy applies to pre-clear each transaction involving the Company’s
                       securities; and

               (4)     “Blackout” periods that require designated persons subject to the pre-
                       clearance procedures to refrain from trading during certain periods
                       following the announcement of the Company’s quarterly financial results.

        77.    Furthermore, the Board of Directors has adopted an Amended Audit Committee

Charter, effective as of May 15, 2012, with the purpose of assisting the Board in its oversight

duties, accounting and reporting practices, and the adequacy of the Company’s financial and

accounting policies, among other duties. The Audit Committee Charter provides additional duties

with respect to the Audit Committee members, consisting of Defendants Curran, Moore and Van

Riper (collectively, the “Audit Committee Defendants”). The additional responsibilities include,

inter alia:

               a.      Review the periodic reports of the Company with management of the

        Company, the internal auditor and the independent auditor prior to filing of the reports with

        the Securities and Exchange Commission;

               b.      Review with management, the independent auditor and the internal auditor

        the Company’s and the Independent Auditor’s assessment of the effectiveness of its

        internal controls;



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       c.      Review with management of the Company and the independent auditor at

the completion of the annual audit:

                 i. the Company’s annual financial statements and related footnotes;

                 ii. the independent auditor’s audit of the financial statements and its

                     report thereon;

                iii. the independent auditor’s report on internal controls;

                iv. any significant changes required in the independent auditor’s audit

                     plan;

                 v. any serious difficulties or disputes with management of the Company

                     encountered during the course of the audit, including any restrictions

                     on the scope of their work or access to required information;

                vi. significant findings during the year and management’s responses

                     thereto; and

               vii. other matters related to the conduct of the audit which are to be

                     communicated to the Committee under generally accepted auditing

                     standards;

       d.      Review with management of the Company and the independent auditor at

least periodically the Company’s critical accounting policies;

       e.      Review disclosure in the Company’s financial statements and periodic

reports of transactions between the Company and officers and directors, or affiliates of

officers or directors, or transactions that are not a normal part of the Company’s business;

and




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                  f.     Review with management of the Company at least periodically the

       Company’s principal financial policies.

                                     BREACHES OF DUTIES

       78.        Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to 3D and its shareholders the fiduciary duty of loyalty and good faith and the

exercise of due care and diligence in the management and administration of the affairs of the 3D,

as well as in the use and preservation of its property and assets. The conduct of the Individual

Defendants complained of herein involves a knowing and culpable violation of their obligations

as directors and officers of 3D, the absence of good faith on their part, and a reckless disregard for

their duties to 3D and its shareholder that the Individual Defendants were aware or should have

been aware posed a risk of serious injury to 3D.

       79.        The Individual Defendants each breached their duties of loyalty and good faith by

allowing Defendants to cause, or by themselves causing, the Company to make false and/or

misleading statements that misled shareholders into believing that disclosures related to the

Company’s financial and business prospects were truthful and accurate when made.

       80.        Due to Defendants’ illegal actions and course of conduct, the Company is now the

subject of a securities class action that alleges violations of the federal securities laws and will

cause the Company to expend significant sums of money for the defense and potential settlement

of the lawsuit.

       81.        In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

further aided and abetted and/or assisted each other in breaching their respective duties.




                                                 23
       82.     During all times relevant hereto, the Individual Defendants collectively and

individually initiated a course of conduct that was designed to mislead shareholders into believing

that the Company’s business and financial prospects were better than they actually were. In

furtherance of this plan, conspiracy, and course of conduct, the Individual Defendants collectively

and individually took the actions set forth herein.

       83.     The purpose and effect of the Individual Defendants’ conspiracy, common

enterprise, and/or common course of conduct was, among other things, to: (a) disguise the

Individual Defendants’ violations of law, including breaches of fiduciary duties and unjust

enrichment; and (b) disguise and misrepresent the Company’s actual business and financial

prospects.

       84.     Defendants knowingly permitted and participated in the release of improper

statements. Because the actions described herein occurred under the authority of the Board, each

of the Individual Defendants was a direct, necessary and substantial participant in the conduct

complained of herein.

       85.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commissions of the wrongdoing complained of herein, each Individual Defendant acted with

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

wrongdoing, and was aware of his or her overall contribution to and furtherance of the wrongdoing.

                               DAMAGES TO THE COMPANY

       86.     The Company has been, and will continue to be severely damaged and injured by

Defendants’ misconduct. Such harm includes, but is not limited to:




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               a. Costs incurred in compensation and benefits paid to defendants that breached

                   their duties to the Company;

               b. Substantial loss of market capital;

               c. Costs already incurred defending against the pending securities class actions,

                   and potential liability therefrom; and

               d. The Company’s business, goodwill and reputation with its business partners,

                   regulators, and shareholders have been gravely impaired.

       87.     The actions complained of herein have irreparably damaged 3D’s corporate image

and goodwill. For at least the foreseeable future, 3D will suffer from what is known as the “liar’s

discount,” a term applied to the stocks of companies who have been implicated in illegal behavior

and have misled the investing public, such that 3D’s ability to raise equity capital or debt on

favorable terms in the future is now impaired.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       88.     Plaintiff brings this action derivatively in the right and for the benefit of 3D to

redress injuries suffered, and to be suffered, by 3D as a direct result of Defendants’ breaches of

fiduciary duties and unjust enrichment. 3D is named as a nominal defendant solely in a derivative

capacity.

       89.     Plaintiff will adequately and fairly represent the interests of 3D in enforcing and

prosecuting its rights and was a shareholder of 3D common stock at the time of the wrongdoing of

which Plaintiff complains and has been continuously since.

       90.     Plaintiff did not make a pre-suit demand on the Board to pursue this action, because

such a demand would have been a futile and wasteful act for reasons detailed below.




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       91.     At the time this action was commenced, the Board of 3D consisted of the following

ten directors: Defendants Reichental, Hull, Van Riper, Loewenbaum, Kever, Welke, Moore,

Diamandis, Humes and Curran.

                       Defendants Reichental and Hull Are Recognized
                            as Non-Independent by the Company

       92.     Defendant Reichental has been a director, President and Chief Executive Officer of

3D since September 2003, having received $6,640,675 in total compensation8 from 3D in 2014

and $10,898,483 in 2013. Defendant Reichental derives significant income from, and his primary

source of income is, his employment as President, CEO and director of 3D, and as such, his

reputation is inextricably bound to his role at 3D. As acknowledged in the Company’s most recent

Proxy, dated March 24, 2015 and filed with the SEC on April 1, 2015, Defendant Reichental is not

independent and therefore cannot independently consider any demand to sue himself for breaching

his fiduciary duties to 3D, as that would expose him to liability and threaten his livelihood.

       93.     Defendant Hull is the founder of 3D and has been a member of the Board since the

1993. Defendant Hull has also been the Executive Vice President since 2000 and the Chief

Technology Officer of the Company since 1997. Within the last five years, Defendant Hull has

worked in a variety of executive officer positions with 3D, including Chief Executive Officer, Vice

Chairman of the Board of Directors, President and Chief Operating Officer. In 2014, Defendant

Hull received total compensation9 of $2,291,827. As acknowledged in the Company’s most recent

Proxy, dated March 24, 2015 and filed with the SEC on April 1, 2015, Defendant Hull is not



8
  Total compensation includes Defendant Reichental’s salary as an officer and a director of the
Company, as well as any bonus, stock awards, non-equity incentive plan compensation and all
other compensation.
9
  Total compensation includes Defendant Hull’s salary as an officer and a director of the
Company, as well as any bonus, stock awards, non-equity incentive plan compensation and all
other compensation.


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independent and therefore cannot independently consider any demand to sue himself for breaching

his fiduciary duties to 3D, as that would expose him to liability and threaten his livelihood.

        Demand is Futile as to Defendant Diamandis Because of his Continued and
    Extensive Business Relationship with 3D and as Co-Founder of Planetary Resources

       94.     Defendant Diamandis is not an independent director to disinterestedly consider a

demand upon the Board because he has engaged in extensive business dealings with 3D in his

capacity as Co-Founder and Co-Chairman of another company, Planetary Resources, Inc.

(“Planetary Resources”).

       95.     Planetary Resources is devoted to space travel for the purpose of landing spacecraft

on asteroids, extracting precious minerals such as platinum from asteroids and returning the

extracted minerals to earth. Because Planetary Resources’ goals are far-fetched, highly speculative

and would anyway take decades to realize if at all possible, Planetary Resources is unable to attract

investment in the conventional sense.       Accordingly, Planetary Resources has been almost

exclusively funded by several primary investors who have made “donations” to the company based

upon philosophical support for the environmental and societal goals of the company. Planetary

Resources has extensively utilized Kickstarter campaigns to raise funds. In essence, Planetary

Resources asks companies and wealthy individuals for donations and anyone willing to pledge to

its space exploration, mining and infrastructure technologies. The Company lists approximately

one dozen “investors” on its website.

       96.     On June 26, 2013, 3D and Planetary Resources announced that 3D joined the core

group of investors of Planetary Resources’ Kickstarter campaign to develop and manufacture

components of its ARKYD Series of Spacecraft. The ARKYD Series, according to Planetary

Resources, is supposed to be a space telescope and technology demonstrator that will be employed

for prospecting missions looking for likely mining candidates among near-Earth asteroids while



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also providing commercial Earth imaging and educational space telescope services. Planetary

Resources promoted the ARKYD Series as “the most advanced spacecraft per kilogram that exists

today.”

          97.    The Kickstarter campaign to fund the ARKYD Series initially aimed for $1 million

in funding. According to 3D’s 2013 Proxy statement (the “2013 Proxy”), filed on April 1, 2014,

in June of 2013, 3D’s Board of Directors decided to invest $1.5 million Planetary Resources. 3D’s

investment in the ARKYD Series put Planetary Resources substantially over its stated goal for the

campaign’s funding.

          98.    Upon information and belief, 3D’s $1.5 million investment in Planetary Resources

is the largest single investment or donation made in or to Planetary Resources.

          99.    3D is not an investment firm and its $1.5 million investment in Planetary Resources

was a departure from 3D’s business and made no sense as an investment; nor did Defendants at all

explain the background or basis of the $1.5 million “investment” to shareholders. All that was

announced to shareholders was a couple sentences listed in the 2013 Proxy statement, which read:

          In June of 2013, our Board of Directors approved our investment of $1,500,000 in
          Planetary Resources, Inc. as a collaborative partner in assisting Planetary Resources
          to develop and manufacture components of its ARKYD Series of spacecraft using
          its advanced 3D printing and digital manufacturing solutions. Dr. Peter Diamandis,
          Co-Founder and Co-Chairman of Planetary Resources, Inc. joined our Board of
          Directors in July 2013

          100.   Furthermore, 3D’s press release announcing the investment in Planetary Resources

added nothing to explain the investment. The Company’s press release entitled “3D Systems and

Planetary Resources Announce Investment and Collaboration,” stated, in pertinent part:

          ROCK HILL, South Carolina, June 26, 2013 – 3D Systems (NYSE:DDD) and
          Planetary Resources, Inc. announced today that 3D Systems has joined Planetary
          Resources’ core group of investors and will be a collaborative partner in assisting
          Planetary Resources to develop and manufacture components of its ARKYD Series
          of spacecraft using its advanced 3D printing and digital manufacturing solutions.



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          101.   In the Company’s press release announcing the investment, Defendant Reichental

further added:

          We are excited to work very closely with Planetary Resources’ engineering team
          to use advanced 3D printing and manufacturing technologies to increase
          functionality while decreasing the cost of their ARKYD spacecraft…In success, we
          will create the smartphone of spacecraft and transform what has been an old-style,
          labor-intensive process, into something very scalable and affordable that will
          democratize access to space, the data collected from space and off-Earth resources
          for scientists and the public. We are delighted to join the Planetary Resources team.

          102.   Immediately after deciding to transfer $1.5 million to Planetary Resources, in July

of 2013, the Board of 3D decided to add an additional directorship to the Board and to appoint

Planetary Resources’ Co-Founder and Co-Chairman, Defendant Diamandis, to the newly minted

directorship, bringing the total number of director positions to ten (10) altogether. The Company

gave Defendant Diamandis total compensation in the amount of $138,732 for the half year of 2013

that Defendant Diamandis was on the Board of 3D.

          103.   The Board of Directors of 3D had never previously added a directorship to the

board or appointed an individual to a directorship, rather than nominated and put up for shareholder

vote. Defendants did not at all explain to shareholders the background or basis of the addition of

the tenth directorship or appointment of Diamandis to that directorship.

          104.   The Company’s press release announcing the addition of Defendant Diamandis

stated:

          ROCK HILL, South Carolina July 24, 2013– 3D Systems (NYSE:DDD) announced
          today that its Board of Directors has elected Peter H. Diamandis a director of the
          company.

          Dr. Peter Diamandis is the Chairman and CEO of the X PRIZE Foundation, which
          leads the world in designing and launching large incentive prizes to drive radical
          breakthroughs for the benefit of humanity. Diamandis is also the co-Founder &
          Executive Chairman of the Singularity University, a Silicon Valley based




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       institution teaching graduates and executives about exponentially growing
       technologies and their potential to address humanity’s grand challenges.

       Diamandis has founded or co-founded many of the leading entrepreneurial
       companies in the exponential technologies sector including Zero Gravity
       Corporation, Planetary Resources, Inc. and Space Adventures. He also counsels the
       world’s top enterprises on how to utilize exponential technologies and incentivized
       innovation to dramatically accelerate their business objectives. Diamandis recently
       co-Authored Abundance – The Future Is Better Than You Think.

       105.   Defendant Loewenbaum, Chairman of the Board of Directors, added:

       We are very pleased to have a person of Peter’s caliber join our Board of
       Directors…Peter brings a unique blend of experience that we expect to enhance the
       range of skills and expertise within our Board of Directors.

       106.   Defendant Reichental did not add much as well in describing the unprecedented

addition to the Board so closely related to 3D’s significant investment in Planetary Resources.

Defendant Reichental stated:

       The addition of Peter Diamandis to our Board underscores our commitment to
       implement and drive exponential strategies in every part of our business…We
       expect Peter’s extensive experience, together with his comprehensive
       understanding of disruptive technologies and crowd sourcing and his incentivized
       innovation background, will make him a valuable addition to our Board.

       107.   Due to the ongoing business relationship between 3D and Planetary Resources,

Defendant Diamandis is not independent from the rest of the Board because of business dealings,

in which 3D essentially donated $1.5 million to Defendant Diamandis’ pet project with no

reasonable expectation of repayment, let alone profit. This huge gratuitous payment by 3D to

Defendant Diamandis’ benefit, coupled with the extraordinary and unnecessary addition of a

directorship and appointment of Defendant Diamandis thereto inuring a financial benefit to

Diamandis of over $20,000 per month during the remainder of 2013 and thereafter, left Diamandis

beholding to the Company and its Board of Directors.




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        108.       In light of the above Defendant Diamandis is inherently intertwined between Board

decisions by 3D and current and future business transactions with Planetary Resources, rendering

him not independent to make such decisions. Defendant Diamandis, as Co-Founder and Co-

Chairman of Planetary Resources cannot adequately consider a demand on 3D’s Board as

Planetary Resources’ professional relationship and future funding may and likely will be impacted

by the liability incurred by Defendant Diamandis for the wrongs complained of herein in which he

is liable to 3D.

               Demand is Futile as to Defendants Curran, Moore and Van Riper
                            as Members of the Audit Committee

        109.       Demand is futile as to Defendants Curran, Moore and Van Riper (collectively, the

“Audit Committee Defendants”) as the members of the Audit Committee in their failure to fulfill

the responsibilities defined in the Audit Committee Charter and oversee the Board’s actions and

reporting practices.

        110.       The Audit Committee Charter, as amended and adopted on May 15, 2012, states

that the purpose of the Audit Committee “shall be to assist the Board in fulfilling its responsibility

for oversight of the quality and integrity of the accounting and reporting practices of the Company,

the adequacy of the Company’s financial and accounting policies…” In particular, the Audit

Committee Defendants are responsible and required to “review the periodic reports of the

Company…prior to filing of the reports with the Securities and Exchange Commission.”

        111.       The periodic reports concerning the Company’s business and prospects moving

forward throughout the Relevant Period contained false and misleading information that allowed

certain of the Individual Defendants to trade on the artificially inflated price of the stock. In their

capacity as members of the Audit Committee, Defendants Curran, Moore and Van Riper were

charged with ensuring that these reports did not contain such information. By allowing the periodic



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results of the Company to be filled with misleading information in which the Defendants were able

to personally benefit, the Audit Committee Defendants either knowingly allowed the reports to

contain false information or did not properly perform their Audit Committee duties. As such, the

Audit Committee Defendants should be subject to liability and cannot independently consider a

demand as members of the Board.

       112.    The Audit Committee Defendants failure to properly oversee the Board’s actions

in disseminating false and misleading statements to artificially inflate 3D’s stock price shows that

these defendants are not disinterested and cannot adequately independently consider a demand.

        Demand is Futile as to Defendants Reichental, Hull, Loewenbaum, Moore,
      Van Riper, Gregoire and Kever For Their Illicit Stock Sales Based on Material,
                          Adverse and Non-Public Information

       113.    Making a demand on Defendants Reichental, Hull, Loewenbaum, Moore, Van

Riper and Kever would be a futile and useless act as those defendants directly benefited from the

wrongs and acts complained of herein and cannot possibly consider a demand to sue themselves

based on those transactions in which they reaped significant benefits.

       114.    The Company has adopted an Insider Trading Compliance Policy (the “Insider

Policy”) to “provide guidance to anyone who works for 3D Systems Corporation…with respect to

trading in the Company’s securities.” The Insider Policy provides that all persons covered under

the policy cannot trade while in possession of inside information, including officers and directors

of the Company.

       115.    Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper and Kever made

such illicit trades during the Relevant Period by wrongfully benefiting from the Company’s

artificially inflated stock price at the expense of the Company’s shareholders. Throughout the

Relevant Period, the Individual Defendants misled the investing public regarding the true business




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and prospects of the Company. When the truth finally emerged, the Company’s stock plummeted,

but only after Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper and Kever has

substantially benefited by selling significant portions of their stock at the higher prices.

       116.    As such, these defendants have breached their fiduciary duties to the Company and

the investing public. Furthermore, these defendants have breached the Company’s Insider Policy

and substantially benefited at the expense of both the Company and its shareholders. In light of

this, Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper and Kever cannot possibly

consider a demand to sue themselves for breaching these duties and any demand on these

defendants would be futile act as they are not independent. Thus, demand should be excused as to

Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper and Kever.

                                  FIRST CAUSE OF ACTION
                     Against all Defendants for Breach of Fiduciary Duties

       117.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       118.    The Individual Defendants owed and owe 3D fiduciary obligations. By reason of

their fiduciary relationships, the Individual Defendants owed and owe 3D the highest obligation

of good faith, fair dealing, loyalty, due care, reasonable inquiry, oversight and supervision.

       119.    The Individual Defendants violated and breached their fiduciary duties of good

faith, fair dealing, loyalty, due care, reasonable inquiry, oversight and supervision.

       120.    The Individual Defendants each knowingly, recklessly or negligently approved the

issuance of false statements that misrepresented and failed to disclose material information

concerning the Company. These actions could not have been a good faith exercise of prudent

business judgment to protect and promote the Company’s corporate interests.




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       121.    As a direct and proximate result of the Individual Defendants’ failure to perform

their fiduciary obligations, 3D has sustained significant damages. As a result of the misconduct

alleged herein, the Individual Defendants are liable to the Company.

       122.    Plaintiff, on behalf of 3D, has no adequate remedy at law.

                              SECOND CAUSE OF ACTION
                        Against all Defendants for Unjust Enrichment

       123.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       124.    By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of 3D.

       125.    The Individual Defendants were unjustly enriched as a result of the compensation

they received while breaching their fiduciary duties owed to 3D.

       126.    Plaintiff, as a shareholder and representative of 3D, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits, benefits, and other

compensation obtained by Defendants from their wrongful conduct and fiduciary breaches.

       127.    Plaintiff, on behalf of 3D, has no adequate remedy at law.

                               THIRD CAUSE OF ACTION
                         Against all Defendants for Abuse of Control

       128.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       129.    The Individual Defendants have taken advantage of their positions as officers

and/or directors of the Company to the detriment of 3D and the investing public by causing the

Company to release information that would artificially inflate the price of the Company’s stock.




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Certain of the Individual Defendants then significantly profited on the false information regarding

the Company’s business and prospects.

       130.    As such, the Defendants have abused their positions of control with the Company

and are legally responsible.

       131.    Thus, for the aforementioned reasons, the Individual Defendants are liable to the

Company for their wrongdoing.

                              FOURTH CAUSE OF ACTION
                      Against all Defendants for Gross Mismanagement

       132.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       133.    Defendants owed a duty of oversight to the Company in which they were

responsible to ensure that the Company maintained adequate reporting controls for all financial,

accounting and disclosure released by the Company.           Furthermore, the Defendants were

responsible to oversee, manage and control the operations of the Company, including the manners

and methods of reporting in which the acts complained herein occurred.

       134.    Through the wrongful acts complained of herein, the Defendants refused or did not

properly discharge their responsibilities to the Company and its shareholders in a prudent manner

as prescribed by law as well as in the Company’s corporate governance regulations.

       135.    By committing the misconduct alleged herein, Defendants breached their fiduciary

duties of due care, diligence and candor in the management and administration of 3D’s affairs and

in the use and preservation of 3D’s assets.

       136.    During the course of the discharge of their duties, Defendants knew or recklessly

disregarded the unreasonable risks and losses associated with their misconduct, yet Defendants




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caused 3D to engage in the scheme complained of herein which they knew had an unreasonable

risk of damage to 3D, thus breaching their duties to the Company.

       137.    As a result, Defendants grossly mismanaged 3D and should be liable to the

Company for the resulting damages.

                             FIFTH CAUSE OF ACTION
   Against Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper, Gregoire and
               Kever for Breach of Fiduciary Duties for Insider Selling and
                            Misappropriation of Information

       138.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       139.    Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper, Gregoire and

Kever, throughout the Relevant Period, engaged in the sale of Company stock while in possession

of material information that had yet to be released to the investing public. Furthermore, these

defendants participated in the scheme to keep the public unaware of the adverse information

affecting the Company’s stock price and benefited to the detriment of the investing public and the

Company itself.

       140.    The information that was yet unreleased concerned the Company’s ability to

increase the capacity of its metal printing business, the demand for its consumer products, the

value of multiple companies it was acquiring, and its expected earnings.

       141.    This proprietary, non-public information concerning the Company’s business and

prospects was known by the Defendants who sold all or part of their shares throughout the Relevant

Period and was done for their own self-interests, at the expense of 3D and the investing public.

       142.    By selling the Company’s common stock while in possession of this information

and failing to fully inform the investing public, Defendants Reichental, Hull, Loewenbaum,




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Moore, Van Riper, Gregoire and Kever breached their fiduciary duties of good faith and loyalty to

the Company.

       143.    As such, Defendants Reichental, Hull, Loewenbaum, Moore, Van Riper, Gregoire

and Kever are legally responsible to the Company for the significant profits they received from

the sales of their stock in 3D.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       A.      Against all Defendants for the amount of damages sustained by the Company as a

result of Defendants’ breaches of fiduciary duties, aiding and abetting breaches of fiduciary duties

and unjust enrichment;

       B.      Directing the Company to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable laws and to protect 3D

and its shareholders from a repeat of the damaging events described herein, including, but not

limited to, putting forward for shareholder vote resolutions for amendments to the Company’s By-

Laws or Articles of Incorporation and committee charters taking such other actions as may be

necessary to place before shareholders for a vote the following corporate governance proposals or

policies:

                  A proposal to strengthen the Board’s supervision of operations and compliance
                   with applicable state and federal laws and regulations;

                  A proposal to strengthen the Company’s internal reporting and financial
                   disclosure controls;

                  A proposal to develop and implement procedures for greater shareholder input
                   into the policies and guidelines of the Board;

                  A proposal to ensure the accuracy of the qualifications of 3D directors,
                   executives and other employees;



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                  A proposal to require an independent Chairperson of the Board;

                  A provision to appropriately test and then strengthen the Company’s internal
                   operational control functions;

       C.      Awarding to 3D restitution from the Individual Defendants, and each of them, and

ordering disgorgement of all profits, benefits and other compensation obtained by the Individual

Defendants;

       D.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs and expenses; and

       E.      Granting such other and further relief as the Court deems just and proper.

                                        JURY DEMAND

       Plaintiff, by and through its counsel of record, requests a jury for all issues triable in the

above-referenced matter.




                             [SIGNATURE PAGE TO FOLLOW]




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                     Respectfully submitted,


                     /s/ Brian C. Duffy
                     Brian C. Duffy (Fed. ID No. 9491)
                     Thomas A. Limehouse, Jr. (Fed. ID No. 12148)
                     DUFFY AND YOUNG, LLC
                     96 Broad Street
                     Charleston, South Carolina 29401
                     Telephone: (843) 720-2044
                     Facsimile: (843) 720-2047
                     bduffy@duffyandyoung.com
                     tlimehouse@duffyandyoung.com

                            and

                     Edward W. Miller
                     Joshua M. Lifshitz
                     Pro Hac Vice Application Forthcoming
                     LIFSHITZ AND MILLER
                     821 Franklin Avenue, Suite 209
                     Garden City, New York 11530
                     Telephone: (516) 493-9780
                     Facsimile: (516) 280-7376

                     Attorneys for Plaintiff

September 18, 2015




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